914 F.2d 248Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joe Louis JONES, Plaintiff-Appellant,v.H.R. POWELL, Assistant Warden, N. Harris, L.P.N., A. Peeple,Dermatologist, Doctor Harris, Defendants-Appellees.
    No. 89-7802.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 17, 1989.Decided Sept. 11, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  James R. Spencer, District Judge.  (C/A No. 89-234-R)
      Joe Louis Jones, appellant pro se.
      E.D.Va.
      DISMISSED.
      Before WIDENER and WILKINSON, Circuit Judges, and HARRISON L. WINTER,* Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Joe Louis Jones appeals the district court's dismissal of this 42 U.S.C. Sec. 1983 action for failure to pay the assessed filing fee.  Finding that the district court properly complied with the procedures approved in Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and did not abuse its discretion in dismissing the action without prejudice, we deny leave to proceed in forma pauperis and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         Senior Judge Winter participated in the consideration of this case but died prior to the time the decision was filed.  The decision is filed by a quorum of the panel.  28 U.S.C. Sec. 46(d)
      
    
    